                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                      :
 In re:                               :
                                      :
        Denise Houser                 : Case No.: 20-10487
                                      : Chapter 13
        Debtor(s)                     : Judge Ashely M. Chan
                                      :
 ...........................................................................
                                      :
 Denise Houser,                       :
                                      :
        Plaintiff,                    :
                                      : Adv. Pro. No. 20-00221
        vs.                           :
                                      :
 Wells Fargo Bank, N.A., and Manley   :
 Deas Kochalski, LLC,                 :
                                      :
        Defendants.                   :
                                      :

                      MOTION FOR SUMMARY JUDGMENT OF
                    DEFENDANT MANLEY DEAS KOCHALSKI LLC

       NOW COMES Defendant Manley Deas Kochalski LLC (“MDK”), by and through counsel,

and hereby submits its motion for summary judgment under Rule 56. No reasonable jury in this

case could return a verdict against MDK on either of the two claims plaintiff Denise Houser

(“Houser”) has asserted against MDK.

       Houser’s claim against MDK under the federal Fair Debt Collections Practices Act

(“FDCPA”) fails both because the foreclosure writ praecipe to which Houser objects does not fall

within the FDCPA. Furthermore, even if it did, it does not violate the FDCPA because it correctly

states the amount of the judgment, as required by Pennsylvania law.

       Furthermore, Houser’s claim under Pennsylvania state law fails because Houser cannot



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produce summary judgment evidence to indicate that she relied to her detriment on the judgment

amount stated on the foreclosure writ praecipe, nor that she suffered any ascertainable loss.

       A memorandum in support of the instant motion is being filed contemporaneously and is

incorporated herein.

                                                     Respectfully submitted,
                                                     /s/ Sarah E. Bargrover
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